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JS 44 (Rev. 12/12)                                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS
          LAMONT ELKINS                                                                                NOVATO POLICE DEPARTMENT; CODY FENSKE, individually; ANGEL
                                                                                                       MACIAS, individually; REZA POURFARHANI, individually; DERRICK
                                                                                                       YOUNG, individually; MARIN COUNTY DISTRICT ATTORNEY’S OFFICE;
                                                                                                       LORI E. FRUGOLI, individually; LEON S. KOUSHARIAN, individually; and
                                                                                                       DOES 1 to 100
   (b) County of Residence of First Listed Plaintiff Marin County                                      County of Residence of First Listed Defendant Marin County
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
          Christopher B. Dolan, Esq., Jeremy M. Jessup, Esq., Matt D. Gramly, Esq.                     Unknown
          Dolan Law Firm
          1438 Market Street
          San Francisco, CA 94102
          (415) 421-2800
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                           and One Box for Defendant)
  1    U.S. Government               3 Federal Question                                                                     PTF          DEF                                           PTF      DEF
         Plaintiff                      (U.S. Government Not a Party)                         Citizen of This State           1                1   Incorporated or Principal Place          4      4
                                                                                                                                                     of Business In This State
  2    U.S. Government               4 Diversity                                              Citizen of Another State             2           2   Incorporated and Principal Place        5       5
         Defendant                      (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                              Citizen or Subject of a              3           3   Foreign Nation                          6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                          TORTS                               FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                PERSONAL INJURY              625 Drug Related Seizure               422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                  365 Personal Injury -            of Property 21 USC 881             423 Withdrawal                    400 State Reapportionment
  130 Miller Act                      315 Airplane Product              Product Liability        690 Other                                  28 USC 157                    410 Antitrust
  140 Negotiable Instrument                Liability                367 Health Care/                                                                                      430 Banks and Banking
  150 Recovery of Overpayment         320 Assault, Libel &              Pharmaceutical                                                  PROPERTY RIGHTS                   450 Commerce
      & Enforcement of Judgment            Slander                      Personal Injury                                                 820 Copyrights                    460 Deportation
  151 Medicare Act                    330 Federal Employers’            Product Liability                                               830 Patent                        470 Racketeer Influenced and
  152 Recovery of Defaulted                Liability                368 Asbestos Personal                                               840 Trademark                         Corrupt Organizations
      Student Loans                   340 Marine                        Injury Product                                                                                    480 Consumer Credit
      (Excludes Veterans)             345 Marine Product                Liability                         LABOR                         SOCIAL SECURITY                   490 Cable/Sat TV
  153 Recovery of Overpayment              Liability               PERSONAL PROPERTY             710 Fair Labor Standards               861 HIA (1395ff)                  850 Securities/Commodities/
      of Veteran’s Benefits           350 Motor Vehicle             370 Other Fraud                   Act                               862 Black Lung (923)                  Exchange
  160 Stockholders’ Suits             355 Motor Vehicle             371 Truth in Lending         720 Labor/Management                   863 DIWC/DIWW (405(g))            890 Other Statutory Actions
  190 Other Contract                      Product Liability         380 Other Personal                Relations                         864 SSID Title XVI                891 Agricultural Acts
  195 Contract Product Liability      360 Other Personal                Property Damage          740 Railway Labor Act                  865 RSI (405(g))                  893 Environmental Matters
  196 Franchise                           Injury                    385 Property Damage          751 Family and Medical                                                   895 Freedom of Information
                                      362 Personal Injury -             Product Liability             Leave Act                                                               Act
                                          Medical Malpractice                                    790 Other Labor Litigation                                               896 Arbitration
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS             791 Employee Retirement                FEDERAL TAX SUITS                 899 Administrative Procedure
  210 Land Condemnation               440 Other Civil Rights        Habeas Corpus:                   Income Security Act                870 Taxes (U.S. Plaintiff             Act/Review or Appeal of
  220 Foreclosure                     441 Voting                    463 Alien Detainee                                                       or Defendant)                    Agency Decision
  230 Rent Lease & Ejectment          442 Employment                510 Motions to Vacate                                               871 IRS—Third Party               950 Constitutionality of
  240 Torts to Land                   443 Housing/                      Sentence                                                             26 USC 7609                      State Statutes
  245 Tort Product Liability              Accommodations            530 General
  290 All Other Real Property         445 Amer. w/Disabilities      535 Death Penalty                IMMIGRATION
                                          Employment                Other:                       462 Naturalization Application
                                      446 Amer. w/Disabilities      540 Mandamus & Other         465 Other Immigration
                                          Other                     550 Civil Rights                 Actions
                                      448 Education                 555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
      1 Original          2 Removed from               3 Remanded from                    4   Reinstated or              5 Transferred from             6 Multidistrict
        Proceeding          State Court                  Appellate Court                      Reopened                     Another District               Litigation
                                                                                                                            (specify)
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF                         42 U.S.C. section 1983
ACTION                               Brief description of cause:
                                     Unlawful Search and Seizure; Malicious Prosecution; False Arrest; Intentional Inflicition of Emotional Distress; and, Bane Act.
VII. REQUESTED IN                         CHECK IF THIS IS A CLASS ACTION                    DEMAND $ TBD                                CHECK YES only if demanded in complaint:
     COMPLAINT:                           UNDER RULE 23, F.R.Cv.P.                                                                       JURY DEMAND:           Yes        No

VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                                                     JUDGE                                                                  DOCKET NUMBER
DATE                                                             SIGNATURE OF ATTORNEY OF RECORD
09/22/2021
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                APPLYING IFP                                      JUDGE                             MAG. JUDGE
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. (a)     Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
           then the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
           the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In
           land condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
           noting in this section "(see attachment)".

II.        Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
           this section for each principal party.

IV.        Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
           sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more
           than one nature of suit, select the most definitive.

V.         Origin. Place an "X" in one of the six boxes.
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           When the petition for removal is granted, check this box.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
           When this box is checked, do not check (5) above.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.       Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
           numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
